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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                         Chapter 11

DIESEL USA, Inc.,1                                             Case No. 19-10432 (MFW)

                    Debtor.


                     FINDINGS OF FACT, CONCLUSIONS OF LAW AND
                   ORDER (I) APPROVING THE DISCLOSURE STATEMENT
                       AND (II) CONFIRMING THE FIRST AMENDED
                CHAPTER 11 PLAN OF REORGANIZATION OF DIESEL USA, INC.

                                                       Recitals

           A.       On March 5, 2019 (the “Petition Date”), Diesel USA, Inc., the debtor and debtor-

in-possession in the above-captioned case (the “Debtor”), commenced this chapter 11 case (the

“Chapter 11 Case”) by filing a voluntary petition for relief under chapter 11 of title 11 of the

United States Code (the “Bankruptcy Code”).

           B.       On the Petition Date, the Debtor filed, among other pleadings, the (i) Chapter 11

Plan of Reorganization of Diesel USA, Inc. dated March 5, 2019 [Docket No. 28] (as revised on

March 7, 2019 [Docket No. 46]), as amended by the First Amended Chapter 11 Plan of

Reorganization of Diesel USA, Inc. dated April 10, 2019 (as may be further amended,

supplemented, or otherwise modified from time to time, the “Plan”),2 (ii) the Disclosure

Statement in Connection with Chapter 11 Plan of Reorganization of Diesel USA, Inc. [Docket

No. 29] (as revised on March 7, 2019 [Docket No. 47] and as may be further amended,

supplemented, or otherwise modified from time to time, the “Disclosure Statement”), and (iii)

the Debtor’s Motion for Entry of an Order (I) Scheduling Combined Hearing on Adequacy of

1
  The last four digits of the Debtor’s federal tax identification number are 4308. The Debtor’s principal offices are
located at 220 West 19th Street, New York, NY 10011.
2
    Capitalized terms used and not otherwise defined herein shall have the meanings ascribed to them in the Plan.

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Disclosure Statement and Confirmation of Plan; (II) Fixing Deadline to Object to Disclosure

Statement and Plan; (III) Waiving Solicitation of the Plan and Approving Manner of Notice of

Commencement, Combined Hearing, and Objection Deadline; (IV) Approving Notice and

Objection Procedures for the Assumption or Rejection of Executory Contracts and Unexpired

Leases; (V) Conditionally (A) Directing the United States Trustee Not to Convene Section 341(A)

Meeting of Creditors and (B) Waiving Requirement of Filing Statement of Financial Affairs and

Schedules of Assets and Liabilities; and (VI) Granting Related Relief [Docket No. 11] (the

“Scheduling Motion”).

       C.      On March 8, 2019, the Bankruptcy Court entered an Order granting the relief

sought in the Scheduling Motion [Docket No. 48] (the “Scheduling Order”). Pursuant to the

Scheduling Order, the Bankruptcy Court established (i) 4:00 p.m. prevailing Eastern time on

April 5, 2019 as the deadline for filing objections to the (a) Plan, (b) Disclosure Statement, and

(c) assumption or rejection of Executory Contracts and Unexpired Leases (the “Objection

Deadline”), (ii) 4:00 p.m. prevailing Eastern time on April 10, 2019 as the deadline by which

replies to any objections must be filed, and (iii) 10:30 a.m. prevailing Eastern time on April 12,

2019 as the time and date for the hearing to consider approval of the Disclosure Statement and

confirmation of the Plan (the “Combined Hearing”).

       D.      In accordance with the Scheduling Order, on March 8, 2019, the Debtor served a

notice (see [Docket No. 51], the “Combined Hearing Notice”) of, among other things, (i) the date

of the commencement of the Chapter 11 Case; (ii) the date, time, and place of the Combined

Hearing; (iii) the deadline and procedures for filing objections to the Disclosure Statement or

Plan; (iv) instructions for obtaining copies of the Disclosure Statement and Plan; and (v)

procedures with respect to the assumption and rejection of Executory Contracts and Unexpired



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Leases and the deadline for filing objections with respect thereto upon all of the Debtor’s known

creditors (or nominees therefor), equity interest Holders, the U.S. Trustee and all parties

requesting notice under Rule 2002 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”). See Affidavit of Service filed with the Bankruptcy Court by Bankruptcy

Management Solutions d/b/a Stretto (the “Noticing Agent”) on March 13, 2019 [Docket No. 54].

In addition, in accordance with the Scheduling Order, the Debtor served copies of the Plan and

Disclosure Statement on all counterparties to the Debtor’s Unexpired Leases on March 8, 2019.

Id.

       E.     On March 28, 2019, the Debtor filed the Plan Supplement [Docket No. 75],

consisting of (i) the Schedule of Rejected Executory Contracts and Unexpired Leases, (ii) the

Cure Schedule, (iii) financial projections demonstrating the feasibility of the Plan, and (iv)

confirmation that the terms of the Parent Commitment have been agreed to. The Plan

Supplement was served on the Debtor’s 2002 notice list and all counterparties to Unexpired

Leases on March 28, 2019. See Affidavit of Service dated April 1, 2019 [Docket No. 78].

       F.     On April 5, 2019, the Debtor filed an amended Plan Supplement [Docket No. 89]

(the “First Amended Plan Supplement”) containing an amended Schedule of Executory

Contracts and Unexpired Leases and an amended Cure Schedule (references herein to the Plan

Supplement, the Schedule of Executory Contracts and Unexpired Leases, or the Cure Schedule,

shall refer to such documents as so amended and contained in the First Amended Plan

Supplement). The First Amended Plan Supplement was served on the Debtor’s 2002 notice list

and all counterparties to Unexpired Leases on April 5, 2019. See Affidavit of Service dated

April 9, 2019 [Docket No. 92].




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      G.       The following objections to the Debtor’s proposed Cure amounts in the Cure
Schedule (the “Objections”) were filed:

                   a. The Taubman Landlords’ Cure Claim Objection [Docket No. 76]
                      (withdrawn on April 10, 2019 [Docket No. 97]).

                   b. Turnberry Associates’ Objection to Debtor’s Schedule of Proposed Cure
                      Amounts for Assumed Executory Contracts and Unexpired Leases [Docket
                      No. 87] (withdrawn on April 10, 2019 [Docket No. 101]).

                   c. Objection of Johnson Controls, Inc. to Proposed Cure Amount, Notice of
                      Filing Plan Supplement Documents and Related Deadlines, and Chapter
                      11 Plan [Docket No. 88] (withdrawn on April 11, 2019 [Docket No. 110]).

       H.      On April 10, 2019, the Debtor filed the (i) the Debtor’s Memorandum of Law of

the Debtor in Support of an Order (I) Approving the Disclosure Statement and (II) Confirming

First Amended Chapter 11 Plan of Reorganization of Diesel USA, Inc. (the “Confirmation

Brief”), (ii) the proposed confirmation order, (iii) the Declaration of Mark G. Samson in Support

of Confirmation of the Debtor’s First Amended Chapter 11 Plan of Reorganization (the “Samson

Declaration” and collectively with the Confirmation Brief and the proposed confirmation order,

the “Confirmation Submissions”).

       I.      At the Combined Hearing, the Bankruptcy Court considered the Confirmation

Submissions and heard the arguments of counsel supporting confirmation of the Plan and

approval of the Disclosure Statement.

       WHEREFORE, the Bankruptcy Court having reviewed the Plan, Disclosure Statement,

the Objections, and the Confirmation Submissions; the Bankruptcy Court having heard

statements of counsel in support of approval of the adequacy of the information contained in the

Disclosure Statement and confirmation of the Plan at the Combined Hearing; the Bankruptcy

Court having considered all testimony presented and evidence submitted by affidavits,

declarations or otherwise at the Combined Hearing; the Bankruptcy Court having taken judicial

notice of the papers and pleadings on file in this Chapter 11 Case; it appearing to this Bankruptcy

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Court that (i) notice of the Combined Hearing and the opportunity of all parties-in-interest to

object to the approval of the adequacy of the information contained in the Disclosure Statement

and confirmation of the Plan were adequate and appropriate as to all parties to be affected by the

Plan and the transactions contemplated thereby and (ii) the legal and factual bases set forth in the

Confirmation Submissions and presented at the Combined Hearing establish just cause for the

relief granted herein; and after due deliberation thereon and good cause appearing therefor, this

Bankruptcy Court hereby makes and issues the following Findings of Fact and Conclusions of

Law:

                               Findings of Fact and Conclusions of Law

           1. Exclusive Jurisdiction; Venue; Core Proceeding (28 U.S.C. §§ 157, 1334(a),

1408, and 1409). This Bankruptcy Court has jurisdiction over this Chapter 11 Case pursuant to

28 U.S.C. §§ 157 and 1334. Confirmation of the Plan is a core proceeding under 28 U.S.C. §

157(b)(2) and the Bankruptcy Court has exclusive jurisdiction to approve the Disclosure

Statement and determine whether the Plan complies with the applicable provisions of the

Bankruptcy Code and should be confirmed. Venue is proper before the Bankruptcy Court

pursuant to 28 U.S.C. §§ 1408 and 1409. Venue in the District of Delaware was proper as of the

Petition Date and continues to be proper.

           2. Judicial Notice. The Bankruptcy Court takes judicial notice of the docket of this

Chapter 11 Case maintained by the Clerk of this Court or its duly appointed agent, including,

without limitation, all pleadings and other documents filed, all orders entered, and all evidence

and arguments made, proffered or adduced at, the hearings held before the Bankruptcy Court

during the pendency of this Chapter 11 Case.




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            3. No Need for Solicitation of Votes. All Classes of Claims and Interests are

Unimpaired under the Plan and thus are conclusively deemed to have accepted the Plan pursuant

to section 1126(f) of the Bankruptcy Code. Therefore, the Debtor was not required to solicit

acceptances of the Plan from Holders of any Claims or Interests.

            4. Transmittal and Mailing of Materials, Notice. Proper and sufficient notice of the

Combined Hearing and the other dates described in the Scheduling Order was given in

compliance with the Bankruptcy Code, the Bankruptcy Rules and the Scheduling Order, and no

other or further notice is or shall be required.

            5. Burden of Proof. The Debtor, as proponent of the Plan, has met its burden of

proving the elements of sections 1129(a) of the Bankruptcy Code by a preponderance of the

evidence.

            6. Plan Compliance with the Applicable Provisions of the Bankruptcy Code (11

U.S.C. § 1129(a)(1)). As set forth below, the Plan complies with the applicable provisions of the

Bankruptcy Code, thereby satisfying section 1129(a)(1) of the Bankruptcy Code.

                    a. Proper Classification of Claims and Interests (11 U.S.C. §§ 1122 and

            1123(a)(1)). In addition to all Claims against the Debtor for costs and expenses of

            administration under section 503(b)(1) or 507(b) of the Bankruptcy Code, including

            for Administrative Claims and all Priority Tax Claims, neither of which need to be

            classified, the Plan designates four Classes of Claims and one Class of Interests. The

            Claims or Interests placed in each Class are substantially similar to other Claims or

            Interests, as the case may be, in such Class. Valid business, factual and legal reasons

            exist for separately classifying the various Classes of Claims and Interests created

            under the Plan, and such Classes do not unfairly discriminate among Holders of



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Claims or Interests. Thus, the Plan satisfies sections 1122 and 1123(a)(1) of the

Bankruptcy Code.

        b. Specification of Unimpaired Classes (11 U.S.C. § 1123(a)(2)). The Plan

specifies that all Classes of Claims and Interests are Unimpaired under the Plan and

thereby satisfies section 1123(a)(2) of the Bankruptcy Code.

        c. Specification of Treatment of Impaired Classes (11 U.S.C. § 1123(a)(3)).

No Classes of Claims and Interests are Impaired under the Plan.             Having no

applicability to the Plan, it follows that the requirements of section 1123(a)(3) of the

Bankruptcy Code have been met.

        d. Equal Treatment Within Classes 11 U.S.C. § 1123(a)(4). Article III of the

Plan provides for equality of treatment for each Claim or Interest within a particular

Class. Consequently, the Plan complies with section 1123(a)(4) of the Bankruptcy

Code.

        e. Implementation of Plan (11 U.S.C. § 1123(a)(5)). The Plan contains

adequate means for its implementation, thereby satisfying 1123(a)(5) of the

Bankruptcy Code.

        f. Issuance of Nonvoting Equity Securities (11 U.S.C. § 1123(a)(6)). The

Plan does not contain any provisions for the issuance of new equity securities to

creditors or otherwise and Diesel S.p.A., the Debtor’s sole shareholder, will retain its

Interests under the Plan. Having no applicability to the Plan, it follows that the

requirements of section 1123(a)(6) of the Bankruptcy Code have been met.

        g. Selection of Post-Confirmation Directors and Officers (11 U.S.C. §

1123(a)(7)). The Plan does not contain any provisions with respect to the manner of



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           selection of any officer, director or trustee under the Plan or any successor to such

           officer, director or trustee. Article V.G of the Plan provides that each of the directors

           and officers of the Debtor immediately prior to the Effective Date will remain in such

           capacities for the Reorganized Debtor on and after the Effective Date. Having no

           applicability to the Plan, the requirements of section 1123(a)(7) of the Bankruptcy

           Code have been met.

                  h. Providing for Payment to Creditors (11 U.S.C. § 1123(a)(8)). The Debtor

           is a corporation. Having no applicability to the Plan, it follows that the requirements

           of section 1123(a)(8) of the Bankruptcy Code have been met.

           7. Impaired and Unimpaired Classes (11 U.S.C. Section § 1123(b)(1)). The Plan

specifies that all Classes of Claims and Interests are Unimpaired under the Plan and is thereby

consistent with section 1123(b)(1) of the Bankruptcy Code.

           8. Assumption or Rejection of Executory Contracts and Unexpired Leases               (11

U.S.C. § 1123(b)(2)). Article VI of the Plan provides that, except as otherwise set forth in the

Plan, each Executory Contract and Unexpired Lease is deemed automatically assumed in

accordance with the provisions and requirements of sections 365 and 1123 of the Bankruptcy

Code as of the Effective Date, unless such Executory Contract or Unexpired Lease (1) is

identified on the Schedule of Rejected Executory Contracts and Unexpired Leases; (2) was

assumed or rejected previously by the Debtor; (3) expired or terminated pursuant to its own

terms before the Effective Date; (4) is the subject of a motion to reject pending on the

Confirmation Date; or (5) is the subject of a motion pending on the Confirmation Date to reject

an Executory Contract or Unexpired Lease pursuant to which the requested effective date of such




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rejection is after the Effective Date. These provisions of the Plan are permitted by section

1123(b)(2) of the Bankruptcy Code.

           9. Settlement or Adjustment of Claims or Interests (11 U.S.C. § 1123(b)(3)). Article

VII.M of the Plan provides that, in accordance with section 1123(b)(3) of the Bankruptcy

Code, the Reorganized Debtor will retain and may (but is not required to) enforce all Causes of

Action other than Avoidance Actions, which are waived pursuant to Article VII.L of the Plan.

After the Effective Date, the Reorganized Debtor, in its sole and absolute discretion, shall have

the right to bring, settle, release, compromise, or enforce all retained Causes of Action not

specifically waived under the Plan (or decline to do any of the foregoing), without further

approval of the Bankruptcy Court. These provisions of the Plan are permitted by section

1123(b)(3) of the Bankruptcy Code.

           10. Other Permissive Provisions (11 U.S.C. Section § 1123(b)). In accordance with

section 1123(b) of the Bankruptcy Code, the Plan provides for the retention of the jurisdiction of

the Bankruptcy Court, and contains certain release, injunction and exculpation provisions that are

consistent with the applicable provisions of the Bankruptcy Code.

           11. Bankruptcy Rule 3016. The Plan is dated and identifies the entity submitting it,

thereby satisfying Bankruptcy Rule 3016(a). The filing of both the Disclosure Statement and the

Samson Declaration with the Clerk of this Court satisfies Bankruptcy Rule 3016(b).

           12. Bankruptcy Rule 3017. The Debtor has given proper and sufficient notice of the

hearing to approve the adequacy of information contained in the Disclosure Statement as

required by the Scheduling Order. The Debtor has also given proper and sufficient notice of the

Combined Hearing as required by Bankruptcy Rule 3017(d), as modified by the Scheduling

Order. Given that solicitation of acceptances of the Plan was not necessary, Bankruptcy Rule



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3017(e) is not applicable. Having no applicability to the Plan, it follows that the requirements of

Bankruptcy Rule 3017(e) have been met.

            13. Bankruptcy Rule 3018. No Claims are Impaired under the Plan, and all Classes

are deemed to accept the Plan. Therefore, no solicitation of acceptances or rejections was

necessary, and Bankruptcy Rules 3018(a) and 3018(b) are not applicable.                     Having no

applicability to the Plan, it follows that the requirements of Bankruptcy Rule 3018 have been

met.

            14. Debtor’s Compliance with the Applicable Provisions of the Bankruptcy Code (11

U.S.C. § 1129(a)(2)). The Debtor has complied with the applicable provisions of the Bankruptcy

Code, thereby satisfying section 1129(a)(2) of the Bankruptcy Code. Specifically: (i) the Debtor

is eligible to be a debtor under section 109 of the Bankruptcy Code and is a proper proponent of

the Plan under section 1121(a) of the Bankruptcy Code; (ii) the Debtor has complied with the

applicable provisions of the Bankruptcy Code, except as otherwise provided or permitted by

orders of the Bankruptcy Court; and (iii) because all Classes of Claims and Interests are

Unimpaired under the Plan, and therefore deemed to accept the Plan and not entitled to vote, the

solicitation requirements of sections 1125 and 1126 of the Bankruptcy Code do not apply to the

Debtor.

            15. Plan Proposed in Good Faith and Not By Any Means Forbidden By Law (11

U.S.C. § 1129(a)(3)). The Debtor has proposed the Plan in good faith and not by any means

forbidden by law, and filed this Chapter 11 Case with an honest belief that the Debtor was in need

of reorganization and the Plan was negotiated and proposed with the intention of accomplishing a

successful reorganization and emerging from chapter 11 with a business and operational structure

that will allow it to satisfy its obligations with sufficient liquidity and capital resources, and for no



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ulterior purpose. The Plan fairly achieves a result consistent with the objectives and purposes of

the Bankruptcy Code. In so finding, the Court has examined the totality of the circumstances

surrounding the filing of this Chapter 11 Case, the Plan itself and the process leading to its

formulation. The Debtor’s good faith is evident from the facts and record of this Chapter 11

Case, the Disclosure Statement, and the record of the Combined Hearing and other proceedings

held in this Chapter 11 Case.

           16. The Plan is the result of extensive good faith, arm’s-length negotiations, and

reflects input from the principal constituencies having an interest in the Chapter 11 Case, and

achieves the goal of consensual reorganization embodied by the Bankruptcy Code. Further, as

described in greater detail below, the Plan’s exculpation, release and injunction provisions

have been negotiated in good faith and are consistent with sections 105, 1123(b)(6), 1129 and

1142 of the Bankruptcy Code and applicable law in this Circuit. Accordingly, the Debtor has

satisfied the requirements of section 1129(a)(3) of the Bankruptcy Code.

           17. Services and Expenses — 11 U.S.C. § 1129(a)(4). Except as otherwise provided or

permitted by the Plan, or by orders of this Court, any payment made or to be made by the Debtor

for services or for costs and expenses in or in connection with this Chapter 11 Case, has been

approved by, or is subject to the approval of, the Bankruptcy Court as reasonable. Article IX of the

Plan expressly carves out the retention of the Bankruptcy Court’s exclusive jurisdiction over all

matters arising out of, and related to, the Chapter 11 Case and the Plan, including jurisdiction to

“hear and determine all applications for allowance of compensation and reimbursement of

Professional Fee Claims under this Plan or under sections 330, 331, 503(b), 1103, and 1129(a)(4)

of the Bankruptcy Code[.]” Accordingly, the Plan satisfies section 1129(a)(4) of the Bankruptcy

Code.



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           18. Directors, Officers and Insiders (11 U.S.C. § 1129(a)(5)). In compliance with

section 1129(a)(5)(A)(i) of the Bankruptcy Code, Article V.G of the Plan provides that the

Reorganized Debtor’s officers and directors will be the same as the Debtor’s current officers and

directors. Accordingly, the Debtor has complied with section 1129(a)(5)(A)(i) of the Bankruptcy

Code. The retention of the Debtor’s directors and officers will allow the Reorganized Debtor to

benefit from the directors’ and officers’ familiarity with the Debtor’s business and industry going

forward in the current difficult industry climate, and will also facilitate prompt distributions to

creditors pursuant to the Plan. As such, the continuation in office of each of the proposed

directors and officers of the Reorganized Debtor is consistent with the interests of creditors,

equity security Holders and public policy, and thereby satisfies section 1129(a)(5)(A)(ii) of the

Bankruptcy Code. Article V.G of the Plan provides that the Reorganized Debtor’s officers shall

serve and be compensated in accordance with their existing employment agreements with the

Reorganized Debtor. Accordingly the Debtor has complied with section 1129(a)(5)(B) of the

Bankruptcy Code.

           19. No Rate Changes (11 U.S.C. S 1129(a)(6)). The Plan does not provide for any

changes in any rates subject to such regulatory approval.         Thus, section 1129(a)(6) is not

applicable in this Chapter 11 Case. Having no applicability to the Plan, it follows that the

requirements of section 1129(a)(6) of the Bankruptcy Code have been met.

           20. Best Interests of Creditors Test (11 U.S.C. § 1129(a)(7)). Section 1129(a)(7) of

the Bankruptcy Code specifies that the liquidation analysis of the “best interests of creditors test”

only applies to nonaccepting Impaired Claims or Interests. As the Plan provides that each Class

of Claims and Interests is Unimpaired and thus are not entitled to vote, the “best interests of

creditors test” does not apply to any Classes. Having no applicability to the Plan, it follows that



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the requirements of section 1129(a)(7) of the Bankruptcy Code have been met.

           21. Acceptance by All Impaired Classes (11 U.S.C. § 1129(a)(8)). No class of Claims

or Interests is Impaired under the Plan. Having no applicability to the Plan, it follows that the

requirements of section 1129(a)(8) of the Bankruptcy Code have been met.

           22. Treatment of Priority Claims (11 U.S.C. § 1129(a)(9)). In accordance with section

1129(a)(9)(A) of the Bankruptcy Code, Article II.A of the Plan provides that each Holder of an

Allowed Administrative Claim will, in exchange for full and final satisfaction, settlement, release,

and discharge of such Allowed Administrative Claim, be paid the full unpaid amount of such

Allowed Administrative Claim in Cash on, or as soon thereafter as is reasonably practicable, (a)

the Effective Date or, if payment is not then due, (b) on the due date of such Allowed

Administrative Claim; provided, however, that Administrative Claims incurred by the Debtor in

the ordinary course of business may be paid in the ordinary course of business in accordance with

such applicable terms and conditions relating thereto without further notice to or order of the

Bankruptcy Court. All statutory fees payable under 28 U.S.C. § 1930(a) shall be paid as such fees

become due. Article III.B.1 of the Plan provides that each holder of an Other Priority Claim shall,

in exchange for full and final satisfaction, settlement, release, and discharge of such Claim,

receive the following at the option of the Debtor: (1) Payment of an Allowed Other Priority Claim

in full in Cash in the ordinary course of business; (2) Reinstatement of such Other Priority claim;

or (3) Such other treatment rendering such Other Priority Claim Unimpaired. Additionally, the

Plan satisfies the requirements of section 1129(a)(9)(C) of the Bankruptcy Code in respect of

the treatment of all Priority Tax Claims against any Debtor of the kind specified in section

507(a)(8) of the Bankruptcy Code. Article II.D provides that in exchange for full and final

satisfaction, settlement, release, and discharge of each Allowed Priority Tax Claim, each Holder



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of an Allowed Priority Tax Claim due and payable on or prior to the Effective Date shall

receive the treatment set forth in section 1129(a)(9)(C) of the Bankruptcy Code. To the extent

any Allowed Priority Tax Claim is not due and owing on or before the Effective Date, such

Claim shall be paid in full in Cash in accordance with the terms of any agreement between the

Debtor and such Holder or as may be due and payable under applicable non-bankruptcy law or

in the ordinary course of business.

           23. Acceptance of At Least One Impaired Class That Is Entitled to Vote — 11 U.S.C.

§ 1129(a)(10). All Classes of Claims and Interests are Unimpaired under the Plan and thus are

conclusively deemed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy

Code. Therefore, no Holders of any of Claims or Interests are entitled to vote on the Plan.

Having no applicability to the Plan, the requirements of section 1129(a)(9) of the Bankruptcy

Code have been met.

           24. Feasibility (11 U.S.C. § 1129(a)(11)). The Plan satisfies section 1129(a)(11) of

the Bankruptcy Code because confirmation of the Plan is not likely to be followed by liquidation

or the need for further financial reorganization of the Reorganized Debtor. The Plan has more

than a reasonable likelihood of success. Exhibit 3 to the Plan Supplement (the “Feasibility

Analysis”) includes the Debtor’s financial projections as well as written confirmation that all

terms of the Parent Commitment have been agreed to, including the Parent’s agreement to: (a)

consent to the Debtor’s assumption of the License Agreement in accordance with section 365(c)

of the Bankruptcy Code; (b) agree to renewal of the License Agreement for another term, which

shall be without prejudice to the parties’ rights to revise and renegotiate in good faith the terms

and conditions of the License Agreement after the Effective Date; (c) consent to the release and

payment of $26,388,623.37 pursuant to the Parent Commitment for the purpose of funding the



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Reorganization Business Plan; and (d) provide for additional funding for the Reorganization

Business Plan in the approximate amount of $10 million. The Feasibility Analysis demonstrates

that the Debtor will be able to make all payments required by the Plan from its existing cash

balance. Furthermore, the financial projections and Parent Commitment demonstrate that the

Plan as proposed is feasible and that the Reorganized Debtor will be financially viable after

confirmation of the Plan.    The feasibility of the Plan is further supported by the Parent’s

additional agreement to accept delayed payment of its Claims that would otherwise be payable

on the Effective Date. Thus, the Plan provides for a workable scheme of reorganization, with

more than a reasonable likelihood of success, and therefore satisfies section 1129(a)(11) of the

Bankruptcy Code.

           25. Payment of Certain Fees (11 U.S.C. § 1129(a)(12)). Article IX.E of the Plan

provides that, notwithstanding anything to the contrary contained in the Plan, all fees payable

through the Effective Date pursuant to 28 U.S.C. § 1930 shall be paid on the Effective Date, or as

soon as practicable thereafter. Thus, the Plan satisfies section 1129(a)(12) of the Bankruptcy

Code.

           26. Continuation of Retiree Benefits (11 U.S.C. § 1129(a)(13)). The Debtor does

not have any obligation to pay any retiree benefits as such term is defined in section 1114 of

the Bankruptcy Code.      Having no applicability to the Plan, the requirements of section

1129(a)(13) of the Bankruptcy Code have been met.

           27. 11 U.S.C. §§ 1129(a)(14) – (16) Are Inapplicable. Based on the facts of the

Chapter 11 Case, sections 1129(a)(14) through (16) of the Bankruptcy Code are not applicable to

the Plan. Having no applicability to the Plan, the requirements of sections 1129(a)(14) through

(16) of the Bankruptcy Code have been met.



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            28. Satisfaction of Confirmation Requirements. The Plan satisfies all the requirements

for confirmation set forth in section 1129(a) of the Bankruptcy Code.

            29. Confirmation of Only One Plan (11 U.S.C. § 1129(c)). The Plan is the only plan

of reorganization considered by this Court for confirmation, in accordance with section 1129(c)

of the Bankruptcy Code.

            30. Principal Purpose (11 U.S.C. § 1129(d)). The principal purpose of the Plan is

neither the avoidance of taxes nor the avoidance of section 5 of the Securities Act, and no

governmental unit has objected to the confirmation of the Plan on any such grounds. The

Plan, therefore, satisfies the requirements of section 1129(d) of the Bankruptcy Code.

            31. Good Faith. The Debtor and its principal constituencies, including, without

limitation, the Parent (and their professionals and representatives) have been and are continuing

to act in good faith.

            32. Releases, Injunctions and Exculpations and Limitations of Liability. Pursuant to

section 1123(b)(3) of the Bankruptcy Code and Bankruptcy Rule 9019(a), the settlements,

compromises, releases, injunctions, discharges, and exculpations and limitations of liability

set forth in the Plan and implemented by this Confirmation Order are fair, equitable,

reasonable and in the best interests of the Debtor, the Reorganized Debtor and its Estate,

creditors, and equity Holders. The releases of non-debtors under the Plan are fair to Holders

of Claims and are necessary to the proposed reorganization, thereby satisfying the requirements

of In re Continental Airlines, Inc., 203 F.3d 203, 214 (3d Cir. 2000), In re Indianapolis Downs,

LLC, 486 B.R. 286, 305 (Bankr. D. Del. 2014), and In re Zenith Elecs. Corp., 241 B.R. 92

(Bankr. D. Del. 1999). The record of the Combined Hearing and the Chapter 11 Case is

sufficient to support the releases, injunctions, exculpations and limitations of liability provided



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for in Article VII of the Plan.

            33. Retention of Jurisdiction. Pursuant to sections 105(a) and 1142 of the

Bankruptcy Code, and notwithstanding the entry of this Confirmation Order or the

occurrence of the Effective Date, this Court, except as otherwise provided in the Plan or

herein, shall retain exclusive jurisdiction over all matters arising out of, and related to, the

Chapter 11 Case and the Plan to the fullest extent permitted by law, including, but not

limited to, the matters set forth in Article IX of the Plan.

            34. Modifications to the Plan. The prior amendments to the Plan and the further

modifications to the Plan incorporated in this Order (if any) constitute nonmaterial or technical

changes and do not materially adversely affect or change the treatment of any Claims or

Interests under the Plan (the “Technical Modifications”). Pursuant to section 1127 of the

Bankruptcy Code and in accordance with Bankruptcy Rule 3019, the Technical Modifications

do not require additional disclosure under section 1125 of the Bankruptcy Code, and no

additional notice or hearing with respect thereof is required.

                                             Decrees

WHEREFORE, IT IS HEREBY ORDERED, ADJUDGED, DECREED AND

DETERMINED THAT:

            35. Disclosure Statement. Under the facts of the Chapter 11 Case, no solicitations of

acceptances of the Plan were required under the Plan. The Disclosure Statement contains

adequate information in accordance with section 1125 of the Bankruptcy Code and is hereby

approved.

            36. Confirmation. The Plan (as modified by this Order) is confirmed under section

1129 of the Bankruptcy Code. The Objections, not heretofore withdrawn, are hereby overruled

in their entirety.

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            37. Provisions of Plan and Order Nonseverable and Mutually Dependent. The

provisions of the Plan and this Confirmation Order, including the findings of fact and

conclusions of law set forth herein, are nonseverable and mutually dependent.

            38. Modifications to Plan. After entry of this Confirmation Order, the Debtor and

the Reorganized Debtor may, in accordance with section 1127, amend or modify the Plan or

any Plan Documents (as defined below) of the Bankruptcy Code or remedy any defect or

omission or reconcile any inconsistency in the Plan in such manner as may be necessary to

carry out the purpose and intent of the Plan.

            39. Plan Classification Controlling. The classification of Claims and Interests for

purposes of the distributions to be made under the Plan shall be governed solely by the terms of

the Plan.

            40. Discharge of Debtor. Except as otherwise expressly provided in the Plan or this

Confirmation Order, the discharge set forth in Article VII.C of the Plan is approved.

            41. Exemption for Taxation. Pursuant to section 1146(a) of the Bankruptcy Code,

any transfers from the Debtor to the Reorganized Debtor or to any other Person or entity

pursuant to the Plan will not be subject to any stamp tax or similar tax. All filing and

recording officers are hereby authorized to accept for filing or recording all instruments of

transfer to be filed and recorded in accordance with the Plan or the Confirmation Order

without payment of any such taxes. Notice of entry of this Confirmation Order in the form

attached hereto as Exhibit B (i) shall have the effect of an order of the Court, (ii) shall

constitute sufficient notice of the entry of this Confirmation Order to such filing and recording

officers and (iii) shall be a recordable instrument insofar as permitted under applicable

nonbankruptcy law. This Court retains jurisdiction to enforce the foregoing direction by



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contempt proceedings or otherwise.

           42. Return of Deposits. All utilities, including any entity who received a deposit or

other form of adequate assurance of performance pursuant to section 366 of the Bankruptcy

Code during the Chapter 11 Case (collectively, the “Deposits”), including, without

limitation, gas, electric, telephone, trash and sewer services, shall return such Deposits to the

Debtor and/or the Reorganized Debtor, as applicable, either by set off against postpetition

indebtedness or by cash refund, within 45 days following the Effective Date and as of the

Effective Date, such utilities are not entitled to make requests for or receive Deposits under

section 366 of the Bankruptcy Code. The Debtor shall be permitted to withdraw any monies

from and close any adequate assurance deposit account upon the Effective Date.

           43. Release of Liens and Encumbrances. Except as expressly provided in the Plan or

the Confirmation Order, or in any contract, instrument, release or other agreement or document

entered into or delivered in connection with the Plan, on the Effective Date and concurrently

with the applicable distributions made pursuant to Article III of the Plan, all liens, judgment

liens, Claims, mortgages, deeds of trust, encumbrances or other security interests against the

property of the Estate are fully released and discharged (except to the extent Reinstated under the

Plan), and all right, title, and interest of any holder of such mortgages, deeds of trust, liens,

judgment liens or other security interests, including any rights to any collateral thereunder, shall

revert to the Reorganized Debtor and its successors and assigns.

           44. Documentation. The Debtor and the Reorganized Debtor, as applicable, are

authorized to execute and deliver any agreements, documents and instruments to be entered into

as of the Effective Date as contemplated by, and in furtherance of, the Plan (collectively, the

“Plan Documents”), and to take all steps deemed necessary by the Debtor or the Reorganized



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Debtor to consummate the transactions contemplated thereby.

           45. Binding Effect. Pursuant to section 1141 of the Bankruptcy Code, effective as of

the Confirmation Date, but subject to the occurrence of the Effective Date, and except as expressly

provided in the Plan or this Confirmation Order, the provisions of the Plan (including the exhibits

to, and all documents and agreements executed pursuant to, the Plan) and this Confirmation Order

shall be binding on (i) the Debtor, (ii) the Reorganized Debtor, (iii) all parties in interest, Holders

of Claims against and Interests in the Debtor, (iv) each Person acquiring property under the Plan,

(v) each counterparty to an Executory Contract or Unexpired Lease of the Debtor, (vi) any Person

or entity making an appearance in the Chapter 11 Case or any other Person in the Chapter 11

Case and (vii) the successors and assigns of all of the above-listed entities.

           46. Continued Corporate Existence and Vesting of Assets in Reorganized Debtor.

Except as otherwise provided in the Plan, the Debtor will continue to exist after the Effective

Date with all the powers of a corporation under applicable Delaware law pursuant to the

Debtor’s organizational documents in effect prior to the Effective Date, without prejudice to

any right to terminate such existence (whether by merger or otherwise) under applicable law

after the Effective Date.      In accordance with Article VII.B of the Plan, and except as

otherwise explicitly provided in the Plan, on the Effective Date, all property comprising the

Debtor’s estate shall revest in the Reorganized Debtor. Notwithstanding anything herein to

the contrary or in any other orders of this Court, in the event the Debtor removes a particular

Unexpired Lease from its Schedule of Rejected Executory Contracts and Unexpired Leases,

the Debtor shall be permitted to continue operations in the store subject to such Unexpired

Lease.




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            47. Releases. Except as otherwise expressly provided in the Plan, this Confirmation

Order or a separate order of this Court, the release provisions set forth in Articles VII.E and

VII.F of the Plan are approved.

            48. Injunction. Except as otherwise expressly provided in the Plan, this Confirmation

Order, or a separate order of this Court, the injunctions set forth in Article VII.G of the Plan are

approved.

            49. Exculpation and Limitation of Liability. Except as otherwise expressly provided

in the Plan, this Confirmation Order or a separate order of this Court, the exculpation provisions

set forth in Article VII.I of the Plan are approved.

            50. Effect of Plan Provisions on Claims.

                    a. Except as required by an order of the Bankruptcy Court and except with
               respect to Rejection Damages Claims as required under Article VI of the Plan,
               Holders of Claims and Interests need not file a proof of claim with the Bankruptcy
               Court to be deemed an Allowed Claim or Interest under the Plan and shall retain
               all their rights under applicable non-bankruptcy law to pursue their Claims in any
               forum with jurisdiction over the parties and the Debtor or Reorganized Debtor
               shall have and retain any and all rights and defenses the Debtor had with respect
               to any Claim or Interest immediately prior to the Effective Date. If the Debtor or
               Reorganized Debtor disputes any claims, other than Rejection Damage Claims,
               such disputes shall be determined, resolved, or adjudicated as if the Debtor had
               not filed the Chapter 11 Case. Except as provided in Article VI of the Plan, all
               proofs of claim filed in this Chapter 11 Case shall be considered objected to and
               Disputed without further action by the Debtor. On the Effective Date, all proofs
               of claim filed against the Debtor (other than as required under Article VI of the
               Plan), regardless of when such proofs of claim were filed, including proofs of
               claims filed after the Effective Date, shall be deemed withdrawn, and such
               creditor that files such proof of claim with the Bankruptcy Court shall retain any
               right it may have to pursue remedies in a forum other than the Bankruptcy Court
               in accordance with applicable law.

                   b. For the avoidance of doubt, the legal, equitable, and contractual rights of
               the Holder of any Disputed Claim (other than a Disputed Rejection Damages
               Claim) shall be left unaltered by the Plan. Notwithstanding anything to the
               contrary in the Plan and except as set forth in the following paragraph, (a) no
               Claim shall be deemed settled, satisfied, resolved, released, discharged, barred, or
               enjoined by any provision of the Plan, (b) the provisions of Articles VII.C, VII.G,
               and VII.F of the Plan shall not apply to a Holder of a Claim, and (c) the property

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              of the Debtor’s Estate that vests in the Reorganized Debtor pursuant to Article
              VII.B of the Plan shall not be free and clear of the right of any Holder of a Claim
              to enforce its rights in respect of its Claim against the Reorganized Debtor, in
              each case, until such Claim has been (x) paid in full in accordance with applicable
              law, or on terms agreed to between the Holder of such Claim and the Debtor or
              Reorganized Debtor, or in accordance with the terms and conditions of the
              particular transaction giving rise to such Claim or (y) otherwise satisfied or
              disposed of as determined by a court of competent jurisdiction. For the avoidance
              of doubt, the foregoing limitation shall not apply to any claims or Causes of
              Action held by the Debtor, the Estate, or the Reorganized Debtor that are released
              pursuant to Article VII.E of the Plan (the “Debtor Released Claims”). Such
              Debtor Released Claims shall be deemed settled, satisfied, resolved, released,
              discharged, barred and/or enjoined by the applicable provisions under, and
              pursuant to the express terms of, the Plan on the Effective Date.

                   c. Notwithstanding the foregoing or anything else to the contrary in this Plan
              and for the avoidance of doubt, with respect to Class 4 Claims, (i) the Allowed
              amount of such Claims may be determined by the Bankruptcy Court after notice
              and a hearing in accordance with Article VI of the Plan, (ii) such Claims shall be
              discharged in accordance with Article VII.C of the Plan and the Holders of such
              Claims shall be subject to the injunction set forth in Article VII.G of the Plan and
              (iii) after payment of the Allowed amount of such Claims, Holders of such Claims
              shall be subject to the releases set forth in Article VII.F of the Plan.

           51. Preservation of All Causes of Action Not Expressly Settled or Released. Except

as otherwise provided in the Plan, in accordance with section 1123(b)(3) of the Bankruptcy

Code the Reorganized Debtor will retain and may (but is not required to) enforce all Causes of

Action other than Avoidance Actions, which are waived pursuant to Article VII.L of the Plan.

After the Effective Date, the Reorganized Debtor, in its sole and absolute discretion, shall

have the right to bring, settle, release, compromise, or enforce such causes of action (or

decline to do any of the foregoing), without further approval of the Bankruptcy Court. The

failure of the Debtor to specifically list any claim, right of action, suit, proceeding or other

cause of action in the Plan does not, and will not be deemed to, constitute a waiver or release

by the Debtor or the Reorganized Debtor of such claim, right of action, suit, proceeding or

other cause of action, and the Reorganized Debtor will retain the right to pursue such claims,

rights of action, suits, proceedings and other causes of action in its sole discretion and,

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therefore, no preclusion doctrine, collateral estoppel, issue preclusion, claim preclusion,

estoppel (judicial, equitable, or otherwise) or laches will apply to such claim, right of action,

suit, proceeding, or other causes of action upon or after the confirmation or consummation of

the Plan.

            52. Continuation of Automatic Stay. Except as otherwise expressly provided in the

Plan, this Confirmation Order or a separate Order of this Court, all injunctions or stays provided

for in the Chapter 11 Case under sections 105 or 362 of the Bankruptcy Code, or otherwise, and

in existence on the Confirmation Date, shall remain in full force and effect through and including

the Effective Date.

            53. Assumed Contracts and Leases. Except as otherwise set forth in the Plan or this

Confirmation Order, each Executory Contract (including, for the avoidance of doubt and without

limitation, the License Agreement and Insurance Policies) and Unexpired Lease shall be deemed

automatically assumed in accordance with the provisions and requirements of sections 365 and

1123 of the Bankruptcy Code as of the Effective Date without further notice or order of this

Court, and the non-debtor counterparties who have not objected to the assumption of their

Executory Contracts or Unexpired Leases are deemed to have consented thereto, unless such

Executory Contract or Unexpired Lease:


                      i. is identified on the Schedule of Rejected Executory Contracts and
                         Unexpired Leases;

                   ii. was assumed or rejected previously by the Debtor;

                  iii. expired or terminated pursuant to its own terms before the Effective Date;

                  iv. is the subject of a motion to reject pending on the Confirmation Date; or

                      v. is the subject of a motion pending on the Confirmation Date to reject an
                         Executory Contract or Unexpired Lease pursuant to which the requested
                         effective date of such rejection is after the Effective Date.

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Each assumption is in the best interests of the Reorganized Debtor, its Estate, and all parties in

interest in the Chapter 11 Case. The requirements for assumption of any Executory Contract or

Unexpired Lease to be assumed have been satisfied.         To the extent any provision in any

Executory Contract or Unexpired Lease assumed pursuant to the Plan (including, without

limitation, any “change of control” provision) conditions, restricts or prevents, or purports to

restrict or prevent, or is breached or deemed breached by, the applicable assumption of such

Executory Contract or Unexpired Lease under the Plan, or that terminates or modifies such

Executory Contract or Unexpired Lease or allows the counterparty to such Executory Contract or

Unexpired Lease to terminate, modify, recapture, impose any penalty, condition renewal or

extension, or modify any term or condition upon any such assumption under the Plan, then, as of

the Effective Date, such provision shall be deemed void and of no force or effect with respect to

the transactions contemplated by the Plan and shall not entitle the non-debtor party thereto to

terminate or modify such Executory Contract or Unexpired Lease or to exercise any other

default-related rights with respect thereto. Confirmation of the Plan and consummation of the

transactions contemplated thereby shall not constitute a change of control under any Executory

Contract or Unexpired Lease assumed by the Debtor on or prior to the Effective Date.

           54. Cure Amounts. The Debtor has properly provided for the cure of any defaults that

might have existed consistent with the requirements of section 365(b)(1) of the Bankruptcy

Code.   The Cure amounts for the Debtor’s counterparties to the Executory Contracts and

Unexpired Leases set forth on the Cure Schedule are hereby fixed, as of the Effective Date, at the

amounts set forth in the Cure Schedule. The Cure amounts for the Debtor’s counterparties to the

Executory Contracts not specifically named on the Cure Schedule are hereby fixed, as of the

Effective Date, at the amount of $0. The assumption of any Executory Contract or Unexpired



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Lease in accordance with this Confirmation Order, and the payment of the Cure amounts, if any,

shall result in the full release and satisfaction of any claims or monetary defaults arising under

such Executory Contract or Unexpired Leases at any time before the Effective Date. The

Debtor’s counterparties to the Executory Contracts and Unexpired Leases assumed pursuant to

this Confirmation Order are forever barred from raising or asserting against the Debtor, its

Estate, or Reorganized Debtor any default or breach under, or any claim or pecuniary loss arising

under or related to, the assumed Executory Contracts or Unexpired Leases that existed prior to

the Effective Date. Provided, however, that, notwithstanding anything to the contrary in the Plan

or Confirmation Order, with respect to any assumed Unexpired Lease of nonresidential real

property, the Reorganized Debtor shall remain liable for: (1) amounts owed and accruing under

the assumed Unexpired Lease of non-residential real property that are unbilled or not yet due as

of the Effective Date, regardless of when such amounts accrued, such as common area

maintenance, insurance, taxes, and similar charges; (2) any regular or periodic adjustment or

reconciliation of charges under the assumed Unexpired Lease of non-residential real property

which are not due or have not been determined as of the Effective Date; (3) any percentage rent

that may come due under the assumed Unexpired Lease of non-residential real property; (4)

other obligations, including indemnification obligations, if any, as of the Effective Date; and (5)

any unpaid cure amounts or post-assumption obligations under the assumed Unexpired Lease of

non-residential real property. All rights of the parties under any assumed Unexpired Lease of

non-residential real property or applicable law for setoff, recoupment or subrogation, shall

survive, notwithstanding any term or condition of the Plan to the contrary.

           55. Assumption and Assignment of Executory Contracts and Unexpired Leases.

Notwithstanding anything in the Plan or this Order to the contrary, the Debtor may assume



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and assign any Executory Contract or Unexpired Lease up until the Effective Date, to the

extent permitted under applicable bankruptcy law, upon motion duly noticed and filed with

the Court.

             56. Rejection of Executory Contracts and Unexpired Leases. The procedures

related to rejection of Executory Contracts or Unexpired Leases set forth in Article VI of the

Plan are hereby approved as modified herein. The requirements for rejection of any Executory

Contract or Unexpired Lease set forth on the Schedule of Rejected Executory Contracts and

Unexpired Leases have been satisfied. This Confirmation Order shall constitute an order of

the Bankruptcy Court under sections 365 and 1123(b) of the Bankruptcy Code approving the

rejection of all Executory Contracts and Unexpired Leases set forth on the Schedule of

Rejected Executory Contracts and Unexpired Leases. The Debtor and each applicable non-

Debtor counterparty to an Unexpired Lease set forth on the Schedule of Rejected Executory

Contracts and Unexpired Leases have agreed and stipulated to the amount and Allowance of

such non-Debtor counterparty’s Rejection Damages Claim set forth in the Schedule of

Rejected Executory Contracts and Unexpired Leases in full and final satisfaction of all

Claims of such non-Debtor counterparty against the Debtor.

                a.      Each Executory Contract and Unexpired Lease set forth on the Schedule

             of Executory Contracts and Unexpired Leases shall be rejected as of the later of (a)

             the Effective Date and (b) with respect each such Unexpired Lease of non-residential

             real property, the date the Debtor surrenders the premises related to such rejected

             Unexpired Lease by returning the keys and key codes to the applicable non-Debtor

             counterparty or providing written notice that such counterparty may re-key the

             premises (the later of the foregoing (a) and (b), the “Rejection Date”).



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   b.        Each Rejection Damages Claim is hereby fixed and Allowed in the

stipulated and agreed amounts set forth in Exhibit C hereto.           The Debtor or

Reorganized Debtor shall pay each Allowed Rejection Damages Claim set forth

on Exhibit C no later than twenty-one (21) days after the applicable Rejection

Date.       Any and all Claims of such counterparties against the Debtor or

Reorganized Debtor arising from or related to the applicable Executory Contract

or Unexpired Lease, whether known or unknown, asserted or unasserted,

derivative or direct, foreseen or unforeseen, existing or hereinafter arising,

including, without limitation, the right to file a proof of Claim asserting any

additional Claims pursuant to Article VI.B of the Plan, shall be deemed fully

waived, released, satisfied, and discharged as of the later of the (i) Rejection Date

and (ii) the date the non-Debtor counterparty receives payment on account of its

Allowed Rejection Damages Claim, if applicable; provided that the foregoing

release shall not constitute a release by any non-Debtor counterparty of

Abandonment Claims (as defined below), environmental claims, or claims against

insurers.

   c.        The Debtor shall surrender the premises related to each rejected Unexpired

Lease in a condition that is in accordance with the terms of each such Unexpired

Lease; provided, however, that to the extent any non-Debtor counterparty incurs costs

or damages in excess of its Allowed Rejection Damages Claim as a result of the

Debtor’s failure to surrender the applicable premises in accordance with the terms of

the applicable Unexpired Lease (such amount, an “Abandonment Claim”), then such

non-Debtor counterparty shall have fourteen (14) days after the Rejection Date to



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submit a written request to the Reorganized Debtor, which request must include

supporting documentation, requesting payment of such Abandonment Claim. In the

event the parties agree on the amount of such Abandonment Claim, the Reorganized

Debtor shall pay the Abandonment Claim at the same time as payment of such non-

Debtor counterparty’s Allowed Rejection Damages Claim. In the event of a dispute

regarding the amount of such Abandonment Claim that the parties are unable to

resolve prior to the date for payment of the applicable Allowed Rejection Damages

Claim, the applicable non-Debtor counterparty shall be permitted to seek Bankruptcy

Court allowance of such Abandonment Claim upon motion and not less than fourteen

(14) days’ notice to the Reorganized Debtor, in which case the Debtor and

Reorganized Debtor expressly reserve all rights to contest any Abandonment Claim,

including, without limitation, the right to argue such Abandonment Claim should be

disallowed under applicable bankruptcy and/or non-bankruptcy law.

   d.      To the extent any fixtures, furniture, advertising displays, other office and

store equipment or any other personal property are left by the Debtor on the premises

related to Unexpired Leases rejected pursuant to the Plan, such personal property is

hereby deemed abandoned pursuant to section 554 of the Bankruptcy Code as of the

Rejection Date; provided, however, that the Debtor shall not abandon any personal

property containing personally identifiable information of the Debtor’s customers or

employees. As of the Rejection Date, non-Debtor counterparties to such rejected

Unexpired Leases may dispose of any such personal property in their sole and

absolute discretion without notice or liability to the Debtor or third parties.




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              e.     Notwithstanding anything in the Plan or this Confirmation Order to the

          contrary, the Debtor may remove any Executory Contract or Unexpired Lease from

          the Schedule of Rejected Executory Contracts and Unexpired Leases following the

          Confirmation Date and prior to the Effective Date upon the consent of the applicable

          non-Debtor counterparty.

          57. Authorization to Take Acts Necessary to Implement Plan. Pursuant to section

1142(b) of the Bankruptcy Code and any applicable state business corporation law provisions,

without further action by the Bankruptcy Court or the stockholders, members, managers or

directors of the Debtor or Reorganized Debtor, the responsible officers of the Debtor or

Reorganized Debtor are authorized to and empowered to: (i) take any and all actions and

perform such acts as may be necessary, desirable or appropriate to implement, effectuate and

consummate the Plan, this Confirmation Order or the transactions contemplated thereby or

hereby, and (ii) execute and deliver, adopt or amend, as the case may be, any contracts,

instruments, releases, agreements and documents necessary to implement, effectuate and

consummate the Plan. To the extent that, under applicable non-bankruptcy law, any of the

foregoing actions would otherwise require the consent or approval of the shareholders,

directors or members of the Debtor or Reorganized Debtor, as applicable, this Confirmation

Order shall constitute such consent or approval, and such actions are deemed to have been

taken by unanimous action of the shareholders, directors or members of the Debtor or

Reorganized Debtor pursuant to section 1142 of the Bankruptcy Code and any applicable

state business corporation law provisions.

          58. Professional Compensation and Reimbursement Claims. All requests for

compensation or reimbursement of Professional Fee Claims for services rendered prior to the



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Effective Date shall be filed and served no later than April 26, 2019, notwithstanding

anything in the Plan to the contrary. The hearing thereon shall be scheduled, if necessary, for

May 28, 2019 at 11:30 a.m. EST.             Any objections to requests for compensation or

reimbursement of Professional Fee Claims shall be filed and served on or before May 17,

2019. Without limiting the foregoing, the Debtor or Reorganized Debtor, as the case may be,

may pay charges incurred on and after the Effective Date for any Professional’s fees,

disbursements, expenses or related support services, without application to or approval by this

Court.

            59. Execution By Third Parties. Each and every federal, state and local

governmental agency or department is hereby authorized to accept, and lessors and Holders

of liens are directed to execute, any and all documents and instruments necessary and

appropriate to consummate the transactions contemplated by the Plan including, without

limitation, documents and instruments for recording in county and state offices where the

Reorganized Debtor’s organizational documents or any other Plan Documents may need to

be filed in order to effectuate the Plan.

            60. Reservation of Rights in Favor of the United States. Notwithstanding any

provision in the Plan, this Confirmation Order or other related Plan Documents:

         Nothing discharges or releases the Debtor, the Reorganized Debtor, or any non-debtor

from any right, claim, liability or cause of action of the United States or any State, or impairs the

ability of the United States or any State to pursue any claim, liability, right, defense, or cause of

action against any Debtor, Reorganized Debtor or non-debtor. Contracts, purchase orders,

agreements, leases, covenants, guaranties, indemnifications, operating rights agreements or other

interests of or with the United States or any State shall be, subject to any applicable legal or



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equitable rights or defenses of the Debtor or Reorganized Debtor under applicable non-

bankruptcy law, paid, treated, determined and administered in the ordinary course of business as if

the Debtor’s bankruptcy case was never filed and the Debtor and Reorganized Debtor shall

comply with all applicable non-bankruptcy law. All claims, liabilities, rights, causes of action, or

defenses of or to the United States or any State shall survive the Chapter 11 Case as if it had not

been commenced and be determined in the ordinary course of business, including in the manner

and by the administrative or judicial tribunals in which such rights, defenses, claims, liabilities, or

causes of action would have been resolved or adjudicated if the Chapter 11 Case had not been

commenced; provided, that nothing in the Plan or this Confirmation Order shall alter any legal or

equitable rights or defenses of the Debtor or the Reorganized Debtor under non-bankruptcy law

with respect to any such claim, liability, or cause of action. Without limiting the foregoing, for

the avoidance of doubt: (i) the United States and any State shall not be required to file any proofs

of claim or administrative expense claims in the Chapter 11 Case for any right, claim, liability,

defense, or cause of action; (ii) nothing shall affect or impair the exercise of the United States’ or

any State’s police and regulatory powers against the Debtor, the Reorganized Debtor or any non-

debtor; (iii) nothing shall be interpreted to set cure amounts or to require the United States or any

State to novate or otherwise consent to the transfer of any federal or state contracts, purchase

orders, agreements, leases, covenants, guaranties, indemnifications, operating rights agreements

or other interests; (iv) nothing shall affect or impair the United States’ or any State’s rights and

defenses of setoff and recoupment, or ability to assert setoff or recoupment against the Debtor or

the Reorganized Debtor and such rights and defenses are expressly preserved; (v) nothing shall

constitute an approval or consent by the United States without compliance with all applicable

legal requirements and approvals under non-bankruptcy law, (vi) nothing shall relieve any party



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from compliance with all licenses and permits in accordance with non-bankruptcy law.

           61. Insurance Contracts. Notwithstanding anything to the contrary in the Disclosure

Statement, the Plan (including, but not limited to, Articles V.N and VI.E), the Plan Supplement,

the Schedule of Rejected Executory Contracts and Unexpired Leases, the Cure Schedule, the

Confirmation Order, any bar date notice, order or claim objection, or any other document related

to any of the foregoing (including, without limitation, any other provision that purports to be

preemptory or supervening, grants an injunction or release, or confers Bankruptcy Court

jurisdiction): (a) all insurance policies issued to or providing coverage to the Debtor at any time

and all agreements and instruments related thereto (collectively and including Insurance Policies

(as defined in the Plan), the “Insurance Contracts”) shall be assumed by the Debtor and

Reorganized Debtor in their entirety pursuant to sections 105 and 365 of the Bankruptcy Code,

and shall continue in full force and effect thereafter in accordance with their respective terms and

conditions; (b) all Insurance Contracts and all debts, obligations, and liabilities of the Debtor

(and, after the Effective Date, of the Reorganized Debtor) thereunder, whether arising before or

after the Effective Date, shall survive in full and shall not be amended, modified, waived,

released, discharged or impaired in any respect without the need or requirement for any insurers

to file or serve any objection to a proposed Cure or a request, application, claim, proof or motion

for payment or allowance of any Administrative Claim and shall not be subject to any bar date,

objection deadline or similar deadline governing Cure or Administrative Claims; and (c) the

automatic stay of Bankruptcy Code section 362(a) and the injunctions set forth in Article VII of

the Plan, if and to the extent applicable, shall be deemed lifted without further order of the

Bankruptcy Court, solely to permit: (I) claimants with valid workers’ compensation claims or

direct action claims against an insurer under applicable non-bankruptcy law to proceed with their



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claims; (II) insurers to administer, handle, defend, settle, and/or pay, in the ordinary course of

business and without further order of this Bankruptcy Court, (A) workers’ compensation claims,

(B) claims where a claimant asserts a direct claim against an insurer under applicable non-

bankruptcy law, or an order has been entered by the Bankruptcy Court granting a claimant relief

from the automatic stay to proceed with its claim, and (C) all costs in relation to each of the

foregoing; and (III) insurers to cancel any Insurance Contracts, and take other actions relating

thereto, to the extent permissible under applicable non-bankruptcy law, and in accordance with

the terms of the Insurance Contracts; provided, however, that notwithstanding the foregoing or

anything to the contrary herein, or in the Insurance Contracts, the Debtor’s filing of this Chapter

11 Case shall not constitute a default under the terms of the Insurance Contracts.

           62. Notice of Entry of Confirmation Order and Occurrence of Effective Date. On or

before the fifth (5th) business day following the occurrence of the Effective Date, the Debtor

shall serve notice of entry of this Confirmation Order (which may be combined with the

Notice of Effective Date) in the form attached hereto as Exhibit B pursuant to Rules

2002(f)(7), 2002(k) and 3020(c) of the Bankruptcy Rules on the following or, in lieu thereof,

their counsel, if known: (i) the Office of the United States Trustee; (ii) creditors holding the

twenty largest unsecured claims against the Debtor as identified in the Debtor’s petition; (iii)

each counterparty to an Executory Contract or Unexpired Lease set forth on the Schedule of

Rejected Executory Contracts and Unexpired Leases, and (v) each other party that the Debtor

believes could be affected by this Confirmation Order, and on all other parties required to

receive service under Rule 2002-1(b) of the Local Rules, by causing a notice of entry of this

Confirmation Order to be delivered to such parties by first class mail, postage prepaid.




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           63. References to Plan Provisions. The failure specifically to include or reference any

particular provision of the Plan in this Confirmation Order shall not diminish or impair the

effectiveness of such provision, it being the intent of the Bankruptcy Court that the Plan be

confirmed in its entirety.

           64. Confirmation Order Controlling. If there is any direct conflict between the Plan

and this Confirmation Order, the terms of this Confirmation Order shall control.

           65. Reversal. If any or all of the provisions of this Confirmation Order are hereafter

reversed, modified, vacated or stayed by subsequent order of the Bankruptcy Court or any

other court of competent jurisdiction, such reversal, modification or vacatur shall not affect

the validity or enforceability of any acts, or obligations, indebtedness, liability, priority or lien

incurred or undertaken by the Debtor and the Reorganized Debtor under or in connection with

the Plan prior to the Debtor’s or the Reorganized Debtor’s (as applicable) receipt of written

notice of any such order. Notwithstanding any such reversal, modification or vacatur of this

Confirmation Order, any such act or obligation incurred or undertaken pursuant to, and in

reliance on, this Confirmation Order prior to the Debtor’s or Reorganized Debtor’s, as

applicable, receipt of written notice of such reversal, modification or vacatur shall be governed

in all respects by the provisions of this Confirmation Order and the Plan and all Plan Documents

or any amendments or modifications thereto in effect prior to the date the Debtor or Reorganized

Debtor, as applicable, received such actual written notice.

           66. Applicable Non-Bankruptcy Law. Pursuant to sections 1123(a) and 1142(a) of the

Bankruptcy Code, the provisions of this Confirmation Order, the Plan and the Plan Documents or

any amendments or modifications thereto shall apply and be enforceable notwithstanding any

otherwise applicable nonbankruptcy law.



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           67. Effectiveness of Order. Notwithstanding Bankruptcy Rules 3020(e), 6004(h) and

6006(d), or any other provision of the Bankruptcy Code or the Bankruptcy Rules, this

Confirmation Order shall be effective immediately upon its entry. This Confirmation Order is a

final order and the period in which an appeal must be filed shall commence upon entry hereof.

           68. Substantial Consummation. Substantial consummation of the Plan under section

1101(2) of the Bankruptcy Code shall be deemed to occur on the Effective Date.

           69. No Waiver. The failure to specifically include any particular provision of the Plan

in this Confirmation Order will not diminish the effectiveness of such provision nor constitute a

waiver thereof, it being the intent of this Court that the Plan is confirmed in its entirety and

incorporated herein by reference.

           70. The Record. The record of the Combined Hearing is closed. The Findings of Fact

and Conclusions of Law of this Bankruptcy Court set forth herein and at the Combined Hearing

shall constitute findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052, as

made applicable herein by Bankruptcy Rule 9014, and the Findings of Fact and Conclusions of

Law of this Bankruptcy Court at the Combined Hearing are incorporated herein by reference. To

the extent any of the foregoing Findings of Fact constitute conclusions of law, they are adopted

as such. To the extent any of the foregoing Conclusions of Law constitute findings of fact, they

are adopted as such.




       Dated: April 12th, 2019
       Wilmington, Delaware                    35     MARY F. WALRATH
                                                      UNITED STATES BANKRUPTCY JUDGE
